                Case 19-33571-7 Doc 1 Filed 10/29/19                            Entered 10/29/19 14:35:09                   Page 1 of 4
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Northern
     ____________________             Texas
                          District of _________________
                                          (State)
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                       
                                       ✔     Chapter 7
                                            Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      Capital Park Private Equity Partners, LLC
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________
                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)                       8 ___
                                           1 – ___2 ___1 ___5 ___4___9___ 1___     2
                                       ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                        3140          Harvard Avenue
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                        Suite 402
                                       _________________________________________________
                                                                                                      _________________________________________________
                                                                                                      P.O. Box

                                        Dallas
                                       ______________________________        TX        75202
                                                                            _______ _________         _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                        Dallas
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


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Debtor         Capital Park Private Equity Partners, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        https://capitalpark.net/
                                    _____________________________________________________________________________________________________




7.    Type of debtor                
                                    ✔    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    
                                    ✔ None of the types of business listed.
                                     Unknown type of business.

9.    To the best of your               No
      knowledge, are any
      bankruptcy cases              
                                    ✔                Eric C. Blue
                                         Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against                                                                                                          19-33568-7
                                                                                             10/29/2019 Case number, if known____________________
                                                       Northern District of Texas Date filed _______________
                                              District __________________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                                     Capital Park Management Company, LLC
                                              Debtor _________________________________________________                 Manager
                                                                                                                  Relationship __________________________
                                                       Northern District of Texas Date filed
                                              District __________________________              _______________                 19-33569-7
                                                                                               10/29/2019 Case number, if known____________________
                                                                                               MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                     Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                    
                                    ✔ A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.


11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                    
                                    ✔ The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a              
                                    ✔ No
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


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Debtor            Capital Park Private Equity Partners, LLC
                  _______________________________________________________                                  Case number (if known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                    Nature of petitioner’s claim                 Amount of the claim
                                                                                                                                                     above the value of
                                                                                                                                                     any lien


                                                   Portfolio Secure Lone, LLC
                                                  ______________________________________
                                                                                                           Amounts owed on Promissory Note
                                                                                                        _________________________________              3,000,000
                                                                                                                                                     $ ________________

                                                  ______________________________________                _________________________________            $ ________________

                                                  ______________________________________                _________________________________            $ ________________

                                                                                                              Total of petitioners’ claims             3,000,000
                                                                                                                                                     $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                             Attorneys


      Name and mailing address of petitioner

      Portfolio Secure Lone, LLC
      ______________________________________________________________
                                                                                              Omar Alaniz
                                                                                             ________________________________________________________________
      Name                                                                                   Printed name


      101 Huntington Avenue, Suite 500                                                        Baker Botts L.L.P.
                                                                                             ________________________________________________________________
      ______________________________________________________________                         Firm name, if any
      Number Street

      Boston                                        MA
      _________________________________ ______________ _____________    02199                 2001 Ross Avenue, Suite 900
                                                                                             ________________________________________________________________
      City                              State          ZIP Code                              Number Street

                                                                                              Dallas                                   TX                75201
                                                                                             _________________________________ ______________ _____________
                                                                                             City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

      Arthur Maxwell
      ______________________________________________________________                         Contact phone    214-953-6500 Email ___________________________
                                                                                                              _________________
                                                                                                                                             omar.alaniz@bakerbotts.com
      Name

      101 Huntington Avenue, Suite 500
      ______________________________________________________________                         Bar number       24040402
                                                                                                             ___________________________________________________
      Number Street

      Boston                                        MA
      _________________________________ ______________ _____________    02199                State            Texas
                                                                                                             _________________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

                     10/29/2019
      Executed on _________________
                  MM / DD / YYYY                                                           /s/ Omar Alaniz
                                                                                              ________________________________________________________________
                                                                                             Signature of attorney

 /s/ Arthur Maxwell, Manager
      ______________________________________________________________
                                                                                             Date signed       10/29/2019
                                                                                                              _________________
      Signature of petitioner or representative, including representative’s title
                                                                                                              MM / DD / YYYY



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Debtor         Capital Park Private Equity Partners, LLC
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________
               MM / DD / YYYY
                                                                                          ________________________________________________________________
                                                                                          Signature of attorney


   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________
               MM / DD / YYYY
                                                                                          ________________________________________________________________
                                                                                          Signature of attorney


   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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